Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 1 of 55 PageID #:
                                     152
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 2 of 55 PageID #:
                                     153
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 3 of 55 PageID #:
                                     154
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 4 of 55 PageID #:
                                     155
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 5 of 55 PageID #:
                                     156
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 6 of 55 PageID #:
                                     157
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 7 of 55 PageID #:
                                     158
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 8 of 55 PageID #:
                                     159
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 9 of 55 PageID #:
                                     160
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 10 of 55 PageID
                                   #: 161
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 11 of 55 PageID
                                   #: 162
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 12 of 55 PageID
                                   #: 163
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 13 of 55 PageID
                                   #: 164
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 14 of 55 PageID
                                   #: 165
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 15 of 55 PageID
                                   #: 166
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 16 of 55 PageID
                                   #: 167
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 17 of 55 PageID
                                   #: 168
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 18 of 55 PageID
                                   #: 169
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 19 of 55 PageID
                                   #: 170
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 20 of 55 PageID
                                   #: 171
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 21 of 55 PageID
                                   #: 172
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 22 of 55 PageID
                                   #: 173
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 23 of 55 PageID
                                   #: 174
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 24 of 55 PageID
                                   #: 175
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 25 of 55 PageID
                                   #: 176
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 26 of 55 PageID
                                   #: 177
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 27 of 55 PageID
                                   #: 178
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 28 of 55 PageID
                                   #: 179
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 29 of 55 PageID
                                   #: 180
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 30 of 55 PageID
                                   #: 181
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 31 of 55 PageID
                                   #: 182
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 32 of 55 PageID
                                   #: 183
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 33 of 55 PageID
                                   #: 184
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 34 of 55 PageID
                                   #: 185
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 35 of 55 PageID
                                   #: 186
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 36 of 55 PageID
                                   #: 187
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 37 of 55 PageID
                                   #: 188
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 38 of 55 PageID
                                   #: 189
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 39 of 55 PageID
                                   #: 190
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 40 of 55 PageID
                                   #: 191
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 41 of 55 PageID
                                   #: 192
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 42 of 55 PageID
                                   #: 193
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 43 of 55 PageID
                                   #: 194
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 44 of 55 PageID
                                   #: 195
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 45 of 55 PageID
                                   #: 196
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 46 of 55 PageID
                                   #: 197
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 47 of 55 PageID
                                   #: 198
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 48 of 55 PageID
                                   #: 199
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 49 of 55 PageID
                                   #: 200
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 50 of 55 PageID
                                   #: 201
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 51 of 55 PageID
                                   #: 202
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 52 of 55 PageID
                                   #: 203
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 53 of 55 PageID
                                   #: 204
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 54 of 55 PageID
                                   #: 205
Case 1:22-cv-06918-DG-TAM   Document 55-3   Filed 01/06/25   Page 55 of 55 PageID
                                   #: 206
